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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X    Chapter 13
In re:
         Michael Kraus,
                                                                  Case No. 18-23391-shl
                                   Debtor.

-------------------------------------------------------------X


                                                 Certificate of Service

       I hereby certify​ that on June 9, 2020, I electronically filed the foregoing ​Letter of Adjournment
with the Clerk of the Court by using the CM/ECF system, and a true and correct copy has been served via
CM/ECF and the United States Mail to the following parties:


Krista M. Preuss
As Chapter 13 Trustee
399 Knollwood Road
Suite 102
White Plains, NY 10603

United States Trustee
Office of the United States Trustee
U.S. Federal Office Building
201 Varick Street, Room 1006
New York, NY 10014



Dated: June 9, 2020
       Suffern, NY


                                                                  Adams Law Group LLC

                                                                  By:​ ​/s/ Benjamin M. Adams
                                                                  Benjamin M. Adams
                                                                  98 Lafayette Avenue, 2nd Floor
                                                                  Suffern, New York 10901
                                                                  Tel: (888) 738-0088


See attached page for additional creditors
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AMERICAN EXPRESS GOLD CARD
P.O. BOX 1270
NEWARK, NJ 07101-1270

American Express National Bank
c/o Becket and Lee LLP
PO Box 3001
Malvern PA 19355-0701

American Express National Bank
c/o Becket and Lee LLP
PO Box 3001
Malvern PA 19355-0701

American Express National Bank
c/o Becket and Lee LLP
PO Box 3001
Malvern PA 19355-0701

BLUE CASH/AMEX
P.O. BOX 1270
NEWARK, NJ 07101

CHASE
PO BOX 15298
WILMINGTON, DE 19850

CHASE FREEDOM CARD
P.O. BOX 15123
WILMINGTON, DE 19850

CHASE SLATE CARD
P.O. BOX 15123
WILMINGTON, DE 19850

Department of the Treasury
Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346
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 DISCOVER CARD
 P.O. BOX 71084
 CHARLOTTE, NC 28272-1084

 EVERBANK
 301 WEST BAY STREET
 JACKSONVILLE, FL 32202

 MARRIOT REWARDS
 P.O. BOX 15123
 WILMINGTON, DE 19850

 MTGLQ INVESTORS, L.P.
 9990 Richmond Ave. Suite 400 South
 Houston, TX 77042

 OPTIMA CARD/AMEX
 P.O. BOX 1270
 NEWARK, NJ 07101

 SELENE FINANCE
 9990 RICHMOND, SUITE 400 SOUTH
 HOUSTON, TX 77042

 TIAA, FSB d/b/a TIAA Bank f/k/a EverBank
 c/o Shapiro, DiCaro & Barak, LLC
 175 Mile Crossing Boulevard
 Rochester, NY 14624

 U.S. Bank Trust National Association, as
 Trustee
 C/O SN Servicing Corp.
 323 5th Street
 Eureka, CA 95501

All other creditors requesting service.
